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     Greg D. Andres
 1
     Antonio J. Perez-Marques
 2   Craig T. Cagney
     Gina Cora
 3   Luca Marzorati
       (admitted pro hac vice)
 4   DAVIS POLK & WARDWELL LLP
     450 Lexington Avenue
 5
     New York, New York 10017
 6   Telephone: (212) 450-4000
     Facsimile: (212) 701-5800
 7   Email: greg.andres@davispolk.com
              antonio.perez@davispolk.com
 8            craig.cagney@davispolk.com
              gina.cora@davispolk.com
 9
              luca.marzorati@davispolk.com
10
     Micah G. Block (SBN 270712)
11   DAVIS POLK & WARDWELL LLP
     900 Middlefield Road, Suite 200
12   Redwood City, California 94063
     Telephone: (650) 752-2000
13   Facsimile: (650) 752-2111
     Email: micah.block@davispolk.com
14

15   Attorneys for Plaintiffs
     WhatsApp LLC and Meta Platforms, Inc.
16
                                UNITED STATES DISTRICT COURT
17

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                     OAKLAND DIVISION

20                                      )         Case No. 4:19-cv-07123-PJH
      WHATSAPP LLC and                  )
21    META PLATFORMS, INC.              )         PLAINTIFFS’ MOTIONS IN LIMINE
22                                      )
                      Plaintiffs,       )         Pretrial Conference Date: April 10, 2025
23                                      )         Time: 2 p.m.
             v.                         )         Ctrm: 3
24                                      )         Judge: Hon. Phyllis J. Hamilton
      NSO GROUP TECHNOLOGIES LIMITED )            Trial Date: April 28, 2025
25    and Q CYBER TECHNOLOGIES LIMITED, )
26                                      )
                      Defendants.       )
27                                      )
                                        )
28
                                  [PUBLIC REDACTED VERSION]
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 1           Plaintiffs WhatsApp LLC and Meta Platforms, Inc. respectfully request that the Court issue
 2   an order precluding Defendants NSO Group Technologies Limited and Q Cyber Technologies
 3   Limited (together, “NSO”), their counsel, and witnesses from mentioning, referring to, or offering
 4   during trial any evidence, testimony, or argument relating to any of the topics described in
 5   Plaintiffs’ Motions in Limine set forth below.
 6           1. NO EVIDENCE, TESTIMONY, OR ARGUMENT BY NSO REGARDING THE
 7               ALLEGED IDENTITIES OF ITS CUSTOMERS OR PROSPECTIVE
 8               CUSTOMERS, INCLUDING GOVERNMENTS OR LAW ENFORCEMENT,
 9               MILITARY, OR INTELLIGENCE AGENCIES
10           NSO should be precluded from offering evidence, testimony, or argument about the alleged
11   identities or affiliations of its customers or prospective customers, including governments or law
12   enforcement, military, or intelligence agencies. See, e.g., Dkt. No. 396-2 at 3, 19; Dkt. No 419-02
13   at 1; Dkt No. 469 at 1. As an initial matter, NSO should not be permitted to do so because it has
14   long denied Plaintiffs discovery regarding its customers. See N.W. v. City of Long Beach, 2016 WL
15   9021966, at *4 (C.D. Cal. June 7, 2016) (granting motion in limine to “preclude[] Defendants from
16   introducing evidence at trial that was not produced in response to Plaintiff’s discovery requests”);
17   Wyatt Tech. Corp. v. Malvern Instruments, Inc., 2010 WL 11505684, at *20 (C.D. Cal. Jan. 25,
18   2010) (precluding plaintiff from “arguing or presenting evidence at trial” that plaintiff failed to
19   provide in its discovery responses). Further, evidence and testimony of this type is inadmissible
20   because it is irrelevant to the issue of damages, and any probative value it may have would be
21   substantially outweighed by the risk of unfair prejudice, jury confusion, and wasted time. See Fed.
22   R. Evid. 401, 402, 403.
23           During discovery, NSO refused to produce information about the identities of its customers
24   and successfully argued that its customers’ identities were “not sufficiently important” to warrant
25   discovery, Dkt. No. 249-2 at 12, and that “[n]either Plaintiffs’ claims nor NSO’s defenses rise or
26   fall on those identities.” Dkt. No. 249-2 at 13; see Dkt. No. 292 at 5; Ex. 1 (Defs.’ Resps. & Objs.
27   to Pls.’ Fifth Reqs. for Produc.) at 24–25. Similarly, NSO witnesses have consistently refused to
28   testify regarding the names or purported agency affiliations of Pegasus licensees. See, e.g., Ex. 2

                                                          1
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 1   (Shohat Dep. Tr.) at 20:18–21

 2

 3                  ; Ex. 3 (Eshkar Dep. Tr.) at 156:3–8

 4

 5                                                                                             ; Ex. 4 (Gil

 6   Dep. Tr.) at 131:25–132:3 (

 7                                                      . The lone exception is NSO’s selective

 8   identification of the FBI as a purported Pegasus licensee and Facebook as an alleged prospective

 9   licensee. See Dkt. No. 468 at 2; Dkt. No. 45-11 ¶ 10.

10           NSO should not now be able to reverse course and attempt to use this type of information at

11   trial. It would unfairly prejudice Plaintiffs for NSO to refuse discovery regarding the identities of

12   its customers, only to turn around and introduce unsubstantiated evidence regarding the same at

13   trial, particularly when such evidence is irrelevant.

14           As NSO itself argued, the purported identities of NSO’s customers or prospective customers

15   have no bearing on any claim or defense in this case. See Dkt. No. 249-2 at 13. Plaintiffs agree.

16   Whether Pegasus was used by foreign governments, militaries, or law enforcement agencies, 1

17   licensed by the FBI, or sought to be licensed by Facebook does not make Plaintiffs’ costs in

18   responding to NSO’s attacks any “more or less probable.” Fed. R. Evid. 401. Nor is such evidence

19   relevant to punitive damages. Punitive damages “are not . . . recoverable in the abstract,” but “must

20   be tied to oppression, fraud or malice in the conduct which gave rise to liability in the case.”

21   Livingston v. ABB, Inc., 100 F. Supp. 3d 894, 904 (C.D. Cal. 2015) (citation omitted & emphasis in

22   original). NSO’s hacking of Plaintiffs’ servers was not authorized by any law enforcement agency,

23   let alone the FBI, and therefore is irrelevant to the conduct that “gave rise to liability in the case.”

24   At bottom, it is NSO, not its customers, that was found liable for violating federal and state anti-

25
     1
26    NSO’s expert Joshua J. Minkler admits that there is no indication that U.S. law enforcement has
     ever deployed Pegasus. See, e.g., Ex. 6 (Minker Dep. Tr.) at 159:20-22 (testifying in response to a
27   question about whether the attacks at issue in this case involved the lawful use of Pegasus in the
     United States by law enforcement that he is “not aware of the lawful use of Pegasus by federal law
28   enforcement agencies” at all).
                                                           2
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 1   hacking law, and breaching the WhatsApp Terms of Service (the “Terms”). And it is NSO’s

 2   conduct, not that of its customers, that the jury will evaluate in deciding whether to award Plaintiffs

 3   damages.

 4           Additionally, the identities of NSO’s customers should be excluded under Rule 403 because

 5   the risk of jury confusion and unfair prejudice substantially outweighs any probative value. NSO

 6   has provided no factual basis to allege the identities of any of its customers, including with respect

 7   to the FBI. NSO has not produced an agreement with the FBI, or evidence that the FBI used

 8   Pegasus.2 In fact, NSO’s assertion that the FBI used Pegasus is belied by the FBI’s own statements

 9   that it did not. Dkt. No. 466 at 25 n.16.

10           Similarly, NSO’s sole “support” for its allegation that Facebook attempted to license

11   Pegasus is a self-serving declaration from NSO’s founder and former CEO Shalev Hulio filed in

12   support of NSO’s motion to dismiss in which Mr. Hulio claims that he was approached by two

13   unnamed “Facebook representatives” who allegedly sought to “use certain capabilities of Pegasus”

14   in October 2017. Dkt. No. 45-11 ¶ 10. Tellingly, NSO refused to produce any discovery on this

15   assertion.

16           Offering irrelevant and unsubstantiated evidence regarding the purported identities of

17   NSO’s customers or prospective customers would serve only to mislead the jury into thinking that

18   the actions of NSO’s customers—rather than NSO—are at issue in this case. A jury could decline

19   to award Plaintiffs damages—not based on the jury’s own judgment and consideration of the

20   evidence—but because a presumptively trustworthy government agency purportedly licensed

21   Pegasus, or Facebook allegedly attempted to license the same, or because a foreign law

22   enforcement agency allegedly used it for the public good. Moreover, such evidence could give the

23   jury the false impression that there is some exception under the law for conduct authorized by

24   foreign law enforcement agencies, which there is not. Cf. 18 U.S.C. § 1030(f).

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     2
27     Instead, NSO has relied solely on a letter certifying that a Delaware company was authorized to
     purchase Pegasus on the FBI’s behalf and a certificate submitted to the Israeli government
28   indicating how the FBI intended to use Pegasus. See Dkt. No. 466 at 24.
                                                           3
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 1           The introduction of such evidence would likewise waste time and result in needless delay,

 2   both because of the time it would take for NSO to present its irrelevant evidence and because

 3   Plaintiffs would be compelled to rebut that unsubstantiated evidence. In essence, such evidence

 4   would do little more than “create unnecessary sideshows and mini-trials of little, if any, relevance.”

 5   Zucchella v. Olympusat, Inc., 2023 WL 9379193, at *4 (C.D. Cal. Dec. 6, 2023). This is exactly

 6   the danger that Rule 403 is intended to protect against, and the Court should exclude any reference

 7   to such evidence on this basis alone. See Buckley v. Evans, 2007 WL 2900173, at *4 (E.D. Cal.

 8   Sept. 28, 2007) (“In any trial there is a risk that . . . the sideshow will swallow up the circus. The

 9   trial court’s weapon[]to prevent this [is] the Federal Rule of Evidence 403 . . . .” (internal quotation

10   marks and citations omitted)).

11           2. NO EVIDENCE, TESTIMONY, OR ARGUMENT BY NSO THAT PEGASUS IS

12               USED OR NEEDED TO INVESTIGATE CRIME, INCLUDING CHILD SEX

13               EXPLOITATION AND TERRORISM

14           NSO should be precluded from offering evidence, testimony, or argument that Pegasus is

15   used, can be used, or is needed to investigate crime, including child sex exploitation and terrorism,

16   including because of end-to-end encryption. NSO has asserted that Pegasus

17                                           Ex. 2 (Shohat Dep. Tr.) at 71:3–7, despite claiming that it is

18                                                         id. at 231:5–13, and that Pegasus cannot be used

19   on “any device that is in the United States or has a U.S. phone number.” Dkt. No. 468 at 4. NSO’s

20   experts have similarly opined on the hypothetical benefit of Pegasus to U.S. law enforcement, see,

21   e.g., Ex. 5 (Minkler Rep.) ¶¶ 40, 54, 60–62, while admitting that they have no knowledge of U.S.

22   law enforcement ever having used Pegasus. See, e.g., Ex. 6 (Minkler Dep. Tr.) at 159:20–22. For

23   example, NSO experts claim law enforcement needs tools like Pegasus because of end-to-end

24   encryption used in “cases of child exploitation” and “the realm of national security,” Ex. 5 (Minkler

25   Rep.) ¶¶ 45–48, yet base that opinion on investigations and prosecutions in which they were not

26   involved. See, e.g., Ex. 6 (Minkler Dep. Tr.) at 250:1–252:12. Setting aside the lack of foundation,

27   evidence and argument of this type is irrelevant, prejudicial, and presents a substantial risk of jury

28   confusion in a damages-only trial.

                                                           4
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 1           Argument and testimony regarding the hypothetical benefit of Pegasus to law enforcement

 2   is irrelevant to the sole issue of damages at trial. Such evidence does not make the time and money

 3   Plaintiffs spent responding to NSO’s attacks any more or less probable. See Fed. R. Evid. 401,

 4   402.

 5           Similarly, such an argument is not relevant to whether NSO acted with “oppression, fraud,

 6   or malice” for the purpose of punitive damages. Cal. Penal Code § 502(e)(4). Punitive damages

 7   punish a defendant for “the conduct that harmed the plaintiff, not for being an

 8   unsavory . . . business.” State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 423 (2003)

 9   (emphasis added); see also Mims v. Fed. Express Corp., 2015 WL 12711651, at *9 (C.D. Cal. Jan.

10   15, 2015) (“Punitive damages are a means to punish reprehensible conduct, not a reprehensible

11   defendant.”). Thus, “[c]ountering Plaintiffs’ punitive damages arguments does not mean . . . that

12   Defendants can present irrelevant evidence or try this case on the basis of corporate character.” In

13   re Bard IVC Filters Prods. Liab. Litig., 2018 WL 934795, at *2 (D. Ariz. Feb. 15, 2018). Rather,

14   punitive damages “must be tied to oppression, fraud or malice in the conduct which gave rise to

15   liability in the case.” Medo v. Superior Ct., 251 Cal. Rptr. 924, 926 (Ct. App. 1988) (emphasis in

16   original). Because there is no evidence to support an argument that NSO’s hacking of WhatsApp’s

17   servers and the devices of WhatsApp’s users had a connection to law enforcement activities, the

18   speculative benefit of Pegasus to U.S. law enforcement is irrelevant to whether NSO acted with

19   oppression, fraud, or malice with respect to “the conduct which gave rise to [NSO’s] liability.”

20   Medo, 251 Cal. Rptr. at 926.

21           Even if this testimony and argument had marginal probative value (it does not), it would be

22   substantially outweighed by the risk of unfair prejudice and jury confusion, and the Court should

23   exclude it under Rule 403. Introducing policy arguments regarding the purported social utility of

24   Pegasus would improperly “appeal to a jury’s concern for community safety” and thereby

25   “encourage the jury to make a decision on an improper basis.” Serna v. Costco Wholesale Corp.,

26   2024 WL 4720884, at *3 (C.D. Cal. Sept. 16, 2024); see also Retamosa v. Target Corp., 2021 WL

27   4499236, at *1 (C.D. Cal. May 4, 2021) (granting motion in limine to preclude evidence or

28   argument that “a verdict for [party] will somehow make the community a safer and better place to

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 1   live and work” because such evidence was “irrelevant to actual damages alleged . . . and ha[d] a

 2   substantial likelihood of unfairly prejudicing the jury [by] encourag[ing] the jury to render a verdict

 3   based on personal interest and bias rather than on the evidence”).

 4           Similarly, argument and testimony regarding child sexual exploitation, terrorism, or other

 5   sensitive issues should be precluded under Rule 403. Even if NSO provided a factual basis to

 6   allege Pegasus was used to combat such crimes—which it has not—such evidence is irrelevant to

 7   any issue for the jury and presents a substantial risk of unfair prejudice and juror confusion. See,

 8   e.g., Doe v. Bridges to Recovery, LLC, 2021 WL 4690830, at *8 (C.D. Cal. May 19, 2021) (finding

 9   that it would be unduly prejudicial to allow an expert to opine on the issue of “sexual

10   exploitation”); Planned Parenthood Fed’n of Am., Inc. v. Ctr. for Med. Progress, 480 F. Supp. 3d

11   1000, 1010 (N.D. Cal. 2020) (excluding evidence relating to legality of plaintiff’s abortion

12   procedures because the “raging [public] debates” on the topic “are barely, if at all, relevant to the

13   causes of action that will be tried to the jury,” and “will confuse the jury about the issues it needs to

14   decide, waste a significant amount of trial time, and be prejudicial”), aff’d sub nom, Planned

15   Parenthood Fed’n of Am., Inc. v. Newman, 2022 WL 13613963 (9th Cir. Oct. 21, 2022); Giganews,

16   Inc. v. Perfect 10, Inc., 2019 WL 1422723, at *5 (C.D. Cal. Mar. 13, 2019) (excluding evidence

17   that child pornography was uploaded to plaintiff’s servers because “[s]uch evidence is irrelevant,

18   and any marginal relevance it may have is outweighed by the risk of undue prejudice”); see also

19   Waymo LLC v. Uber Techs., Inc., 2018 WL 646701, at *22 (N.D. Cal. Jan. 30, 2018) (holding that

20   it is improper under Rule 403 for one party to “devote[] time and effort to describing salacious and

21   inflammatory details . . . that have no discernible relevance to the claims in this case in an apparent

22   bid to poison the judge, if not the jury, against [the other party]”).

23           3. NO EVIDENCE, TESTIMONY, OR ARGUMENT BY NSO REGARDING ITS

24               CUSTOMER DUE DILIGENCE

25           NSO should be precluded from offering evidence, testimony, or argument regarding its

26   purported efforts to screen potential customers and regulate its existing customers’ use of its

27   spyware. Such speculative evidence is irrelevant to the issue of damages, unfairly prejudicial, and

28   likely to cause jury confusion.

                                                           6
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 1           NSO has claimed that it licenses Pegasus only to select government customers, and it

 2   terminates or suspends existing customers’ access upon learning of misuse. See Ex. 2 (Shohat Dep.

 3   Tr.) at 26:23–28:6; Dkt. No. 469 at 3; Ex. 7 (2021 Transparency Report) at 8–9. Such evidence

 4   regarding NSO’s due diligence practices is irrelevant to damages. It is irrelevant to the time and

 5   money Plaintiffs spent responding to NSO’s attack. Plaintiffs anticipate that NSO will seek to

 6   introduce such evidence on the basis that it purportedly bears on NSO’s culpability and therefore

 7   punitive damages. It does not. That NSO alleges it screened potential customers and regulated its

 8   existing customers’ use of its spyware does not make it more or less probable that NSO itself acted

 9   with “oppression, fraud or malice” to the conduct at issue in this case, particularly when NSO has

10   provided no evidence of its purported due diligence practices being applied in the conduct at issue

11   in this case. See Livingston, 100 F. Supp. 3d at 904 (“Punitive damages are not simply recoverable

12   in the abstract. They must be tied to oppression, fraud or malice in the conduct which gave rise to

13   liability in the case.” (citation omitted & emphasis in original)).

14           In fact, NSO has denied Plaintiffs any opportunity to evaluate its purported due diligence

15   practices. As explained above, NSO has not provided discovery regarding the identities of its

16   customers or their use of Pegasus. See Mot. in Limine No. 1. Nor has NSO permitted Plaintiffs to

17   test the validity of its claims regarding its policies against customer misuse. NSO refused to

18   produce the details of investigations into customers who misused Pegasus, including whether or not

19   those customers’ access to Pegasus was suspended or terminated, and the reasons why NSO

20   reached such decisions. Indeed, despite the fact that NSO witnesses have admitted that

21                                                                                        , Ex. 2 (Shohat

22   Dep. Tr.) at 181:6–15, NSO has declined to provide information                                   ,

23   with the exception                                                              . 3 Id. at 29:24–32:14

24                                                                   . Plaintiffs likewise have been denied

25   an opportunity to receive discovery as to the targets and thus cannot evaluate the extent of

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     3
27     See Haroon Siddique, Dubai ruler hacked ex-wife using NSO Pegasus spyware, high court judge
     finds, THE GUARDIAN (Oct. 6, 2021), https://www.theguardian.com/world/2021/oct/06/dubai-ruler-
28   hacked-ex-wife-using-nso-pegasus-spyware-high-court-judge-finds-sheikh-mohammed-princess-
     haya.
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 1   Pegasus’s misuse (which has been widely reported 4) or test whether and to what extent NSO took

 2   any responsive actions in such cases.

 3           Even if evidence about NSO’s purported due diligence practices had marginal probative

 4   value, it would be substantially outweighed by the risk of unfair prejudice and jury confusion.

 5   Speculative evidence on this topic would likely confuse the jury into believing that due diligence

 6   practices untethered to the conduct at issue in this case bear on the amount of damages to which

 7   Plaintiffs are entitled. See Messick v. Patrol Helicopters Inc., 360 F. App’x 786, 789 (9th Cir.

 8   2009) (affirming exclusion of evidence as “speculative, confus[ing], and a waste of time”);

 9   Emery v. Harris, 2014 WL 710963, at *2 (E.D. Cal. Feb. 21, 2014) (excluding evidence because it

10   was “speculative and lack[ed] foundation,” unrelated to “the actions taken in [the] case,” and likely

11   to cause “jury confusion as to the issues to be decided and . . . mislead the jury”).

12           Because evidence of NSO’s purported customer due diligence efforts has no bearing on the

13   issue of damages and is more prejudicial than probative, it should be excluded. See Fed. R. Evid.

14   401, 402, 403.

15           4. NO EVIDENCE, TESTIMONY, OR ARGUMENT BY NSO REGARDING ITS

16               LACK OF CONTROL OVER ITS CUSTOMERS

17           NSO should not be permitted to end-run the Court’s summary judgment ruling by offering

18   evidence, testimony, or argument suggesting it lacked control over its customers’ use of Pegasus.

19           Throughout this case, NSO has sought to evade accountability by claiming that its

20   customers, and not NSO, operated NSO’s spyware. See, e.g., Dkt. No. 419-5, Ex. H ¶ 14

21   (“Defendants do not participate in any governmental customer’s installation of the Pegasus

22   technology on any target device.”). On summary judgment, the Court rejected this very same

23   argument, finding that NSO conspired with its customers within the meaning of the CFAA in spite

24   of any purported “delegation of Pegasus operation to [NSO’s] clients.” Dkt. No. 494 at 13 (citing

25
     4
26    See, e.g., Azam Ahmed, A Journalist Was Killed in Mexico. Then His Colleagues Were Hacked,
     N.Y. TIMES (Nov. 27, 2018), https://www.nytimes.com/2018/11/27/world/americas/mexico-
27   spyware-journalist.html; Craig Timberg et al., Pegasus spyware used to hack U.S. diplomats
     working abroad, WASH. POST (Dec. 3, 2021), https://www.washingtonpost.com/technology/
28   2021/12/03/israel-nso-pegasus-hack-usdiplomats/.
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 1   18 U.S.C. § 1030(b)). Because “[t]he Court has already ruled on these matters in its summary

 2   judgment order[]” evidence and testimony on “these issues would have no probative value, and

 3   would merely waste time.” Magadia v. Wal-Mart Assocs., Inc., 2018 WL 6003376, at *2 (N.D.

 4   Cal. Nov. 15, 2018); see also Bob Barker Co. v. Ferguson Safety Prods., Inc., 2007 WL 4554012,

 5   at *1 (N.D. Cal. Dec. 4, 2007) (“The Court will instruct the jury to disregard evidence probative of

 6   breach as it relates to issues already decided on summary judgment.”).

 7           Setting aside that the Court considered and rejected this argument on summary judgment,

 8   such arguments are irrelevant because the sole issue for trial is the amount of damages Plaintiffs are

 9   entitled to as a result of NSO’s—not its customers’—violations of federal and state law and

10   breaches of the WhatsApp Terms.

11           Finally, NSO should not be permitted to assert any defense based on its customers when it

12   has resisted providing Plaintiffs any discovery regarding its interactions with its customers. See

13   Mot. in Limine No. 1. Such evidence should therefore be excluded.

14           5. NO EVIDENCE, TESTIMONY, OR ARGUMENT BY NSO REGARDING THE

15               ALLEGED INSUFFICIENCY OF WHATSAPP’S SECURITY MEASURES

16           NSO should be precluded from offering evidence, testimony, or argument about the alleged

17   insufficiency of WhatsApp’s security measures, including that WhatsApp purportedly “created” the

18   vulnerability NSO exploited. Such evidence, testimony, or argument would be improper because it

19   is irrelevant to the issue of damages and would likely confuse the jury. The Court has already

20   found that NSO exceeded authorized access to WhatsApp servers, Dkt. No. 494 at 12–13, and any

21   attempt to argue that Plaintiffs “left the door open” is irrelevant to any damages Plaintiffs are

22   entitled to. See Creative Computing v. Getloaded.com LLC, 386 F.3d 930, 936 (9th Cir. 2004)

23   (finding that defendant’s argument that plaintiff could have prevented some of the harm is

24   “analogous to a thief arguing that I would not have been able to steal your television if you had

25   installed deadbolts instead of that silly lock I could open with a credit card”).

26           Even if this evidence had minimal probative value, it would be substantially outweighed by

27   the risk of jury confusion and wasting time. See Fed. R. Evid. 403. The introduction of this

28   irrelevant evidence would likely spawn a series of “mini-trial[s]” so that Plaintiffs could present an

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 1   accurate picture of their security measures to the jury—all in connection with evidence that

 2   ultimately has no bearing on the issues in this case. Gardner v. Fed. Express Corp., 2015 WL

 3   5821428, at *3 (N.D. Cal. Oct. 6, 2015) (“[A]ny attempt to limit the jury’s consideration of such

 4   evidence will devolve into a mini-trial over . . . a question which has little relevance, if any, to any

 5   claim or defense.”). Evidence, testimony, and argument of this type should therefore be precluded

 6   under Rule 403.

 7           6. NO EVIDENCE, TESTIMONY, OR ARGUMENT BY NSO REGARDING THE

 8               PURPORTED USE OF WHATSAPP BY BAD ACTORS, INCLUDING

 9               CHARACTERIZING THE WHATSAPP USERS TARGETED IN NSO’S

10               ATTACKS AS PURPORTED BAD ACTORS

11           NSO should be precluded from offering evidence, testimony, or argument about the alleged

12   use of WhatsApp by terrorists, criminals, or other bad actors, including characterizing the

13   WhatsApp users who were targeted in NSO’s attacks (the “Target Users”) as actual or suspected

14   bad actors. From motion practice and depositions, it is clear that NSO will attempt to reduce the

15   damages it should pay by maligning WhatsApp and its customer base. Indeed, in the first

16   paragraph of its summary judgment briefing, NSO leveled irrelevant accusations that WhatsApp is

17   used by “terrorists, human traffickers, and other criminals . . . to plan and commit serious crimes,”

18   that WhatsApp provides its service to “criminals” free of charge, and that WhatsApp hides

19   evidence located on “criminals’ mobile devices.” Dkt. No. 469 at 1; see also Dkt. No. 45 at 6

20   (alleging one of the Target Users was a terrorist who used WhatsApp “to plan an attack”). NSO’s

21   questioning during depositions has been no different. See Ex. 8 (Woog Dep. Tr.) at 68:13-17 (“Q.

22   All right. You understand the entire Taliban government of Afghanistan uses WhatsApp as its

23   telecommunications platform, correct? A. Sir, I’m not aware of the actions of the entire Taliban”);

24   id. at 122: 16-18 (Q. “Is WhatsApp intended to be used for people to communicate child

25   pornography to each other? A. No, sir.”). And NSO’s experts have similarly opined on such

26   irrelevant information. See, e.g., Ex. 9 (Shepard Rep.) ¶ 23 (claiming that “terrorist organizations,

27   narcotics groups, human traffickers, organized crime, cross-border gangs, and nation-states” use

28   WhatsApp).

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 1           As with NSO’s claims that its unnamed customers were all law-abiding government

 2   agencies, see Mot. in Limine No. 1, speculative claims by NSO regarding the use of WhatsApp by

 3   bad actors should be precluded as irrelevant, prejudicial, and calculated to cause jury confusion.

 4   See Fed. R. Evid. 401, 402, 403.

 5           First, this evidence is plainly irrelevant to the amount of damages owed to Plaintiffs for

 6   NSO’s own unlawful conduct. Whether there are purported “bad actors” among the over 2 billion

 7   WhatsApp users does not make the fact or amount of damages “any more or less probable,” and

 8   therefore is irrelevant. Fed. R. Evid. 401. NSO itself appears to concede that evidence or argument

 9   regarding the identities of WhatsApp users is irrelevant to the issue of damages. See Dkt. No. 512

10   at 6 (arguing that evidence “has no bearing on the issue of damages because it describes the

11   purported impact of Pegasus on third parties [i.e., WhatsApp users], not on Plaintiffs” (emphasis in

12   original)). The Target Users (and WhatsApp users generally) are not parties to the case, nor are

13   Plaintiffs seeking damages on their behalf. Whether the Target Users are civil society members or

14   purported bad actors has no bearing on Plaintiffs’ costs in responding to NSO’s attack. Nor is such

15   evidence relevant to whether NSO acted with “oppression, fraud, or malice” for the purposes of

16   punitive damages. Cal. Penal Code § 502(e)(4); cf. United States v. Ward, 747 F.3d 1184, 1190

17   (9th Cir. 2014) (stating that the identity of a person that has been defrauded was “irrelevant to the

18   defendant’s culpability”).

19           Second, even if these types of arguments by NSO had marginal probative value, the Court

20   should exclude them under Rule 403 because they are substantially outweighed by the risk of

21   confusing the issues, misleading the jury, and unfair prejudice. See Fed. R. Evid. 403. Setting

22   aside the irrelevance of this topic to damages, any testimony or argument by NSO characterizing

23   WhatsApp users, including the Target Users, as bad actors would be speculative and therefore

24   necessarily have minimal, if any, probative value for that reason as well. See NeSmith v. Cnty. of

25   San Diego, 2022 WL 272011, at *7 (S.D. Cal. Jan. 28, 2022) (“Given the highly speculative nature

26   of the report, it has marginal probative value to the determination of economic and noneconomic

27   damages . . . .”); Patrol Helicopters, 360 F. App’x at 789 (affirming exclusion of evidence as

28   “speculative, confus[ing], and a waste of time”). NSO provided no evidentiary foundation for any

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 1   testimony regarding the identities of WhatsApp users or the characterization of them as actual or

 2   suspected bad actors. For instance, NSO’s expert Terrance McGraw opined that

 3                                                       Ex. 10 (McGraw Rep.) ¶ 39, but he admitted that

 4   he had not                                              nor performed any analysis

 5                                 or                                                               Ex. 11

 6   (McGraw Dep. Tr.) at 120:6–25. Similarly, NSO’s expert Col. Ty Shepard stated that

 7   of                 used encrypted messaging applications, Ex. 12 (Shepard Dep. Tr.) at 173:7–

 8   175:19, but he admitted that he had

 9                                          . Id. at 303:12–20.

10           If there were any minimal probative value of testimony and argument on this topic (and

11   there is not), it would be substantially outweighed by the risk of unfair prejudice and misleading the

12   jury and should be precluded for that reason as well. See United States v. Hitt, 981 F.2d 422, 424

13   (9th Cir. 1992) (“Where the evidence is of very slight (if any) probative value, it’s an abuse of

14   discretion to admit it if there’s even a modest likelihood of unfair prejudice or a small risk of

15   misleading the jury.”). Introducing testimony and argument regarding the purported use of

16   WhatsApp by bad actors would create a substantial danger that a jury would evaluate damages

17   based on an emotional or otherwise improper reaction to NSO’s irrelevant and inflammatory

18   accusations. A jury could be confused by NSO’s arguments and decide that the Target Users could

19   be terrorists and child molesters and thus not award, or reduce, damages on that basis. See Waymo,

20   2018 WL 646701, at *22 (excluding under Rule 403 “salacious and inflammatory details about

21   [defendant] that have no discernible relevance to the claims in this case in an apparent bid to poison

22   the judge, if not the jury, against [defendant]); Planned Parenthood Fed’n of Am., 480 F. Supp. 3d

23   at 1010 (excluding evidence relating to legality of plaintiff’s abortion procedures because the

24   “raging [public] debates” on the topic “are barely, if at all, relevant to the causes of action that will

25   be tried to the jury,” and “will confuse the jury about the issues it needs to decide, waste a

26   significant amount of trial time, and be prejudicial”); Giganews, 2019 WL 1422723, at *5

27   (excluding evidence that child pornography was uploaded to plaintiff’s servers because “[s]uch

28   evidence is irrelevant, and any marginal relevance it may have is outweighed by the risk of undue

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 1   prejudice”); see also Old Chief v. United States, 519 U.S. 172, 180 (1997) (“Unfair prejudice

 2   within [Rule 403’s] context means an undue tendency to suggest decision on an improper basis,

 3   commonly, though not necessarily, an emotional one.” (internal quotation marks & citations

 4   omitted)). Because this evidence and testimony has no probative weight and is highly prejudicial, it

 5   should be excluded under Rules 401, 402, and 403.

 6           7. NO EVIDENCE, TESTIMONY, OR ARGUMENT BY NSO PURPORTEDLY

 7               RELATING TO PLAINTIFFS’ REPUTATION

 8           NSO should be precluded from offering evidence, testimony, or argument about Plaintiffs’

 9   reputation, including references to irrelevant disputes, legal allegations, and controversies involving

10   Plaintiffs or their officers. Such evidence is irrelevant, inadmissible character evidence, and

11   unfairly prejudicial. See Fed. R. Evid. 401, 402, 403, 404.

12           For example, in depositions and written discovery, NSO has attempted to undermine

13   Plaintiffs’ reputation by falsely suggesting that Plaintiffs profit through the sale of their users’

14   private information, see Dkt. No. 105 at 2 & n.4, making repeated references to the “Cambridge

15   Analytica scandal,” see, e.g., Ex. 13 (Glick Dep. Tr.) at 59:22–25, 136:14–137:3, and requesting

16   documents and communications produced in unrelated antitrust litigations involving Plaintiffs. Ex.

17   14 (Defs.’ Fourth Set of Reqs. for Produc.) at 6.

18           These types of arguments and statements are irrelevant to the remaining issues in this case.

19   Plaintiffs are not seeking reputational damages, and therefore any evidence purportedly bearing on

20   Plaintiffs’ reputation is irrelevant to the sole issue of damages. Indeed, NSO conceded as much in

21   its recently filed Daubert motion, stating that parties agreed “to not introduce evidence or

22   argument” about reputation. See Dkt. No. 512 at 9 n.2.

23           Such evidence also constitutes inadmissible character evidence under Rule 404. See, e.g.,

24   Seals v. Mitchell, 2011 WL 1399245, at *5 (N.D. Cal. Apr. 13, 2011) (excluding reference to

25   plaintiff’s other lawsuits and grievances as “inadmissible character evidence”); Forbes v. Cnty. of

26   Orange, 2013 WL 12165672, at *13 (C.D. Cal. Aug. 4, 2013) (“Evidence of Plaintiff’s

27   litigiousness would undoubtedly cause the jury to question the validity of Plaintiff's current claims

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 1   and thus is inadmissible character evidence.” (citing Dupard v. Kringle, 76 F.3d 385 (9th Cir.

 2   1996))).

 3            Even if evidence and testimony on this topic had marginal probative value, it would be

 4   substantially outweighed by the risk of unfair prejudice and misleading the jury, and should be

 5   excluded under Rule 403. Such evidence and testimony could only be intended to cast Plaintiffs in

 6   a negative light with respect to matters irrelevant to this litigation, and thereby improperly “provoke

 7   an emotional response in the jury” and risk the jury penalizing Plaintiffs regardless of the merits of

 8   Plaintiffs’ case. Burke v. City of Santa Monica, 2011 WL 13213593, at *6 (C.D. Cal. Jan. 10,

 9   2011).

10            8. NO EXPERT TESTIMONY FROM COL. TY SHEPARD AND JOSHUA J.

11               MINKLER, AND NO TESTIMONY FROM ANY OTHER NSO WITNESS

12               OFFERING SIMILAR POLICY OPINIONS

13            NSO should be precluded from offering testimony from its experts Col. Ty Shepard and

14   Joshua J. Minkler because the entirety of their opinions concern irrelevant policy matters, lack any

15   evidentiary foundation, and are more prejudicial than probative. NSO should also be precluded

16   from offering testimony from its other witnesses and experts about similarly irrelevant policy

17   opinions.

18            Plaintiffs have separately filed Daubert motions seeking to exclude the testimony of Col.

19   Shepard, Mr. Minkler, and Mr. McGraw. See Dkt. Nos. 504-3, 513-3, 572-3. If the Court grants

20   Plaintiffs’ Daubert motions, the Court need not review the portions of this motion in limine seeking

21   to preclude the testimony of these experts under Rules 401 and 403.

22                  a. Col. Shepard’s Testimony Should Be Excluded Because All of His Opinions

23                     Are Irrelevant, Unfairly Prejudicial, and Likely to Cause Jury Confusion

24                      i. Col. Shepard’s Testimony Is Irrelevant to Damages

25            Expert testimony is admissible only if relevant to the issues in controversy. See Acad. of

26   Motion Pictures Arts & Scis. v. GoDaddy.com, Inc., 2013 WL 12122803, at *2 (C.D. Cal. June 21,

27   2013) (“Expert testimony is . . . subject to relevance or prejudice considerations under Rules 401-

28   403.”). The sole issue for trial is determining the amount of damages Plaintiffs are entitled to as a

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 1   result of NSO violating federal and state anti-hacking law, and breaching the WhatsApp Terms.

 2   Plaintiffs anticipate seeking costs they incurred related to responding to and remediating NSO’s

 3   attack and punitive damages to punish NSO for its misconduct and deter similar unlawful acts in

 4   the future. None of Col. Shepard’s policy opinions bears any relevance to these categories of relief,

 5   and therefore his testimony should be excluded.

 6           First, Col. Shepard’s testimony is irrelevant to Plaintiffs’ request for compensatory

 7   damages. Col. Shepard admitted that he conducted no analysis regarding the costs Plaintiffs

 8   incurred in remediating NSO’s attack, and therefore his testimony has no relevance to this issue.

 9   See Ex. 12 (Shepard Dep. Tr.) at 304:8–16

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13           Second, Col. Shepard’s testimony is irrelevant to Plaintiffs’ request for punitive damages.

14   Col. Shepard’s policy opinions have no bearing on whether NSO itself acted with “oppression,

15   fraud, or malice” for the purposes of punitive damages. Cal. Penal Code § 502(e)(4). Instead, his

16   opinions concern, in the abstract, the purported benefits to law enforcement of tools like Pegasus

17   and the purported risks of encrypted messaging platforms generally. These opinions do not relate

18   to the conduct that is at issue in this case, and therefore have no bearing on punitive damages.

19           For instance, Col. Shepard’s first opinion claims—without support—that

20   or               of                 use encrypted messaging applications to undermine U.S. national

21   security interests. Ex. 12 (Shepard Dep. Tr.) at 173:7–175:19; see Ex. 9 (Shepard Rep.) ¶¶ 23–25.

22   But there has been no showing that the users targeted by NSO’s spyware were

23   Indeed, NSO only confirmed that

24           . See Ex. 2 (Shohat Dep. Tr.) at 29:24–32:14. Regardless, as argued above, the identities

25   of the Target Users have no bearing on the amount of damages NSO must pay. Similarly, his

26   second opinion claims that the United States and allied countries make “routine use of tools like

27   Pegasus” to protect national security interests, Ex. 9 (Shepard Rep.) ¶ 1, without naming any

28   instance in which the United States actually deployed Pegasus or similar surveillance tools. See Ex.

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 1   12 (Shepard Dep. Tr.) at 243:13–244:19. As with the Target Users, the purported identities of

 2   NSO’s customers have no bearing on any claim or defense in this case, and again NSO has

 3   provided no evidence regarding the identities of its customers. See Mot. in Limine No. 1. Col.

 4   Shepard’s fourth opinion fares no better. He claims that intelligence agencies “typically do not

 5   follow ordinary terms of service” when pursuing security and safety threats. Ex. 9 (Shepard Rep.)

 6   ¶¶ 36–37. Whether government actors who are not parties to this case comply with terms of service

 7   is plainly irrelevant to the damages owed by NSO, which has already been found to have breached

 8   WhatsApp’s Terms.

 9           Moreover, Col. Shepard has provided no evidentiary foundation for applying his

10   generalized policy opinions to the specific conduct at issue in this case. Col. Shepard has not

11   analyzed how Pegasus functioned in this case. See Ex. 12 (Shepard Dep. Tr.) at 279:13–20

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13

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15           Nor has he conducted any analysis regarding whether NSO obtained information from

16   WhatsApp’s servers or the devices of Target Users. Id. at 280:18–285:5. Accordingly, Col.

17   Shepard has no basis to offer any opinions that would inform the jury’s determination of whether

18   NSO acted with “oppression, fraud, or malice.” His testimony is accordingly irrelevant to punitive

19   damages, just as it is to compensatory damages.

20                     ii. Col. Shepard’s Testimony Presents a Substantial Risk of Unfair Prejudice and

21                          Jury Confusion

22           Even if his generalized policy opinions were relevant, Col. Shepard’s testimony should be

23   excluded under Rule 403 because any marginal probative value would be substantially outweighed

24   by the risk of unfair prejudice and jury confusion. Fed. R. Evid. 403.

25           The crux of Col. Shepard’s testimony is about the social utility of NSO’s technology, but

26   that ignores Plaintiffs’ claims, now established as true, and the analysis that led the Court to find

27   NSO liable, which focused on NSO’s use of WhatsApp’s servers prior to installing their spyware

28   on a Target User’s device. Admitting testimony on whether the use of spyware and other

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 1   interception technologies is useful in                                                                and

 2                                    Ex. 12 (Shepard Dep. Tr.) at 114:14–115:2, would do little more

 3   than invite the jury to make a judgment call as to the “good” or “bad” use of surveillance

 4   technology, and thus distract them from the sole issue of damages. At bottom, NSO seeks to

 5   introduce the irrelevant testimony of a military officer to distract the jury by painting NSO as an

 6   integral player in stopping international crime. “Jurors may well assume that an expert, unlike an

 7   ordinary mortal, will offer an authoritative view on the issues addressed; if what an expert has to

 8   say is instead tangential to the real issues, the jury may follow the ‘expert’ down the garden path

 9   and thus focus unduly on the expert’s issues to the detriment of issues that are in fact controlling.”

10   Rogers v. Raymark Indus., Inc., 922 F.2d 1426, 1431 (9th Cir. 1991). Excluding Col. Shepard’s

11   opinions would avoid this problem.

12           Further, Col. Shepard’s reliance on and references to “classified” information would

13   unfairly prejudice Plaintiffs and confuse the jury. See Ex. 12 (Shepard Dep. Tr.) at 69:23–71:2

14   (claiming that

15

16               ); see also In re Leap Wireless Int’l, Inc., 301 B.R. 80, 85 (Bankr. S.D. Cal. 2003)

17   (finding the probative value of expert’s report was “substantially outweighed by the danger of

18   unfair prejudice” given expert’s reliance on confidential information, which “left the court and

19   [creditor] with the bare option . . . to trust but not to verify”). At his deposition, Col. Shepard

20                                                                                         and would likely

21   do so again during Plaintiffs’ cross-examination. See, e.g., Ex. 12 (Shepard Dep. Tr.) at 91:25–93:5

22   (stating that

23                                                   ). This would serve only to confuse the jury and

24   complicate their remit of awarding Plaintiffs the proper amount of damages.

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 1                 b. Mr. Minkler’s Testimony Should Be Excluded Because All of His Opinions

 2                     Are Irrelevant, Unfairly Prejudicial, and Likely to Cause Jury Confusion

 3                      i. Mr. Minkler’s Testimony Is Irrelevant to Damages

 4           All of Mr. Minkler’s opinions are irrelevant “to the legal and factual matters to be resolved

 5   by the jury” in the upcoming damages trial and therefore should be excluded. Brice v. Haynes

 6   Invs., LLC, 548 F. Supp. 3d 882, 903 (N.D. Cal. 2021).

 7           As an initial matter, Mr. Minkler’s proffered opinions—which all broadly relate to lawful

 8   surveillance of electronic communications by U.S. law enforcement—bear no relation to NSO’s

 9   conduct in this case, as Mr. Minkler himself acknowledges. See, e.g., Ex. 6 (Minkler Dep. Tr.) at

10   79:21-81:2 (testifying that “[t]here is no Title [III] or FISA warrant that I’m aware of that has been

11   authorized for anyone in this country, government agency, to use or install Pegasus”); id. at 81:3–6

12   (confirming that “no United States federal judge approved NSO’s use of Pegasus to obtain any

13   information for WhatsApp users”). Indeed, Mr. Minkler admits that he is “not aware of the lawful

14   use of Pegasus in the United States by federal law enforcement agencies,” id. at 159:10–22, despite

15   opining on topics like “the benefits of tools such as Pegasus in law enforcement and national

16   security operations.” Ex. 5 (Minkler Rep.) ¶¶ 1, 55–62.

17           Mr. Minkler’s opinions are not only untethered to any conduct in this case, they are also

18   irrelevant to the sole issue of damages for trial. Mr. Minkler confirmed in his deposition that he

19   conducted no analysis on whether “Pegasus harmed WhatsApp’s computers,” or whether Plaintiffs’

20   “suffered loss or incurred loss.” Ex. 6 (Minkler Dep. Tr.) at 133:5–10.

21           Nor do his opinions bear any relation to whether NSO acted with “oppression, fraud, or

22   malice” for the purpose of punitive damages. Mr. Minkler admits that his very limited

23   understanding of the facts in this case is “based on reviewing the Complaint,” id. at 120:7–11, and

24   that he is only “somewhat familiar with the allegation[s] in the Complaint.” Id. at 55:18–56:4. In

25   fact, Mr. Minkler did not read the Court’s opinion granting Plaintiffs’ motion for summary

26   judgment, id. at 77:15–20, nor sign the protective order to access documents designated

27   confidential by the parties, id. at 120:2–6. See also Ex. 5 (Minkler Rep.) App. B (listing seven

28   “documents produced in this litigation” that he considered). Mr. Minkler’s lack of knowledge

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 1   regarding NSO’s attacks of WhatsApp at issue in this case confirms that his testimony is irrelevant

 2   to assessing whether NSO acted with oppression, fraud, or malice in connection with the attacks at

 3   issue. “Punitive damages are not simply recoverable in the abstract. They must be tied to

 4   oppression, fraud or malice in the conduct which gave rise to liability in the case.” Medo, 251 Cal.

 5   Rptr. at 926; see State Farm, 538 U.S. at 422–23 (noting that punitive damages punish a defendant

 6   “for the conduct that harmed the plaintiff”). Because Mr. Minkler’s opinions are about speculative,

 7   hypothetical uses of Pegasus, they are irrelevant to evaluating whether NSO acted with oppression,

 8   fraud, or malice in connection with NSO’s attacks of Plaintiffs at issue in this case. Mr. Minkler’s

 9   testimony should therefore be precluded as irrelevant.

10                     ii. Mr. Minkler’s Testimony Presents a Substantial Risk of Unfair Prejudice,

11                          Jury Confusion, and Wasting Time

12           Even if testimony regarding the hypothetical utility of Pegasus to law enforcement were

13   relevant, Mr. Minkler’s testimony should be precluded under Rule 403 because the probative value

14   of his opinions, if any, is substantially outweighed by the risk of unfair prejudice, confusing the

15   jury, and wasting time. At bottom, Mr. Minkler’s opinions go only to NSO’s policy argument that

16   it should not be liable in this case because its technology is theoretically beneficial to law

17   enforcement. The Court has already adjudicated NSO liable on Plaintiffs’ claims, and thus Mr.

18   Minkler’s testimony serves no purpose other than to distract the jury from the facts and improperly

19   appeal to the jury’s sense of community safety. See United States v. Harris, 863 F.2d 887 (9th Cir.

20   1988) (“The jury’s obligation is to apply the law to the facts and the defendant is not entitled to a

21   ‘nullification instruction’ which would instruct the jury to ignore the law and acquit on the basis of

22   sympathy or community conscience.” (quoting United States v. Simpson, 460 F.2d 515 at 519–20

23   (9th Cir. 1972)); see also Shannon v. United States, 512 U.S. 573, 576 (1994) (noting the “well-

24   established principle that a jury is to base its verdict on the evidence before it, without regard to the

25   possible consequences of the verdict.”).

26           Permitting Mr. Minkler to offer his opinions before the jury would therefore create a

27   substantial risk of unfair prejudice to Plaintiffs because jurors may mistakenly believe that they

28   should not award, or reduce, damages owed to Plaintiffs based on policy arguments that are

                                                          19
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 1   irrelevant to the sole issue of damages in this case. See, e.g., Retamosa, 2021 WL 4499236, at *1

 2   (precluding evidence or argument that “a verdict for [party] will somehow make the community a

 3   safer and better place to live and work” because such evidence was “irrelevant to actual damages

 4   alleged . . . and ha[d] a substantial likelihood of unfairly prejudicing the jury [by] encourag[ing] the

 5   jury to render a verdict based on personal interest and bias rather than on the evidence”); Serna,

 6   2024 WL 4720884, at *3 (precluding “arguments meant to appeal to a jury’s concern for

 7   community safety,” given that such arguments “would encourage the jury to make a decision on an

 8   improper basis”). Mr. Minkler’s testimony therefore warrants exclusion under Rule 403.

 9                 c. Testimony from NSO’s Other Witnesses and Experts Regarding Similarly

10                     Irrelevant Policy Opinions Should Be Excluded

11           For the reasons set forth above, NSO should be precluded from offering testimony from its

12   other experts who opine on similarly irrelevant policy matters as Col. Shepard and Mr. Minkler.

13   NSO’s expert Terrance McGraw, for instance, devotes portions of his expert reports to

14   characterizing Pegasus as a                       technology, Ex. 15 (McGraw Rebuttal Rep.) ¶ 99,

15   and alleging that customers use tools like Pegasus to

16               Ex. 10 (McGraw Rep.) ¶ 39. As with Col. Shepard and Mr. Minkler’s opinions, Mr.

17   McGraw’s generalized claims about the social utility of Pegasus have no bearing on any category

18   of relief at issue in this case. And like Col. Sheppard and Mr. Minkler, Mr. McGraw provides no

19   evidentiary foundation to apply his policy opinions to the conduct at issue at trial. Mr. McGraw

20   admitted that he had                                                 and had

21                                                     or

22               as these analyses were                                        Ex. 11 (McGraw Dep. Tr.)

23   at 120:6–25. He similarly conceded that he has no insight into

24                     . Id. at 299:5–7

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 1                                                 . Thus, testimony from Mr. McGraw, and similar expert

 2   testimony on policy opinions, should be excluded as irrelevant and prejudicial.

 3                                               CONCLUSION

 4           For the foregoing reasons, Plaintiffs respectfully request that the Court grant Plaintiffs’

 5   Motions in Limine.

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 1
      Dated: March 13, 2025                         Respectfully submitted,
 2
                                                    DAVIS POLK & WARDWELL LLP
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 4                                                 By:     /s/ Micah G. Block
                                                           Greg D. Andres
 5
                                                           Antonio J. Perez-Marques
 6                                                         Craig T. Cagney
                                                           Gina Cora
 7                                                         Luca Marzorati
                                                             (admitted pro hac vice)
 8                                                         DAVIS POLK & WARDWELL LLP
 9                                                         450 Lexington Avenue
                                                           New York, New York 10017
10                                                         Telephone: (212) 450-4000
                                                           Facsimile: (212) 701-5800
11                                                         Email: greg.andres@davispolk.com
                                                                   antonio.perez@davispolk.com
12                                                                 craig.cagney@davispolk.com
13                                                                gina.cora@davispolk.com
                                                                  luca.marzorati@davispolk.com
14
                                                           Micah G. Block (SBN 270712)
15                                                         DAVIS POLK & WARDWELL LLP
                                                           900 Middlefield Road, Suite 200
16                                                         Redwood City, California 94063
17                                                         Telephone: (650) 752-2000
                                                           Facsimile: (650) 752-2111
18                                                         Email: micah.block@davispolk.com

19                                                         Attorneys for Plaintiffs
                                                           WhatsApp LLC and Meta Platforms, Inc.
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